                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                    AT NASHVILLE

In re:                                )
Troy Dante Hardin                     )           CASE NO. 12-07216
216 Nicks Drive                       )
Madison, TN 37115                     )           JUDGE HARRISON
SSN: xxx-xx-9163                      )
       Debtor.                        )           CHAPTER 7
_________________________________________________________________________________

TENNESSEE DEPARTMENT OF                        )
LABOR & WORKFORCE                              )
DEVELOPMENT -                                  )              Adversary Proceeding
BENEFIT PAYMENT CONTROL )
                                               )              No.
                Plaintiff,                     )
v.                                             )
                                               )
TROY DANTE HARDIN,                             )
                                               )
                Defendant.                     )


     COMPLAINT OF THE TENNESSEE DEPARTMENT OF LABOR & WORKFORCE
         DEVELOPMENT - BENEFIT PAYMENT CONTROL TO DETERMINE
            DISCHARGEABILITY OF DEBT UNDER 11 U.S.C. § 523(a)(2)



       Comes now the Tennessee Attorney General, on behalf of the Tennessee Department of

Labor & Workforce Development - Benefit Payment Control ("TDLWD-BPC") by and through

undersigned counsel, and petitions the Court, pursuant to 11 U.S.C. § 523, to determine that the debt

owed to the TDLWD-BPC by the Debtor, Troy Dante Hardin (“the Debtor”), for overissuance of

unemployment benefits, totaling $9,915.89, be nondischargeable. In support thereof, the TDLWD-

BPC advises the Court as follows:

       1.       This adversary proceeding arises out of the Defendant’s Chapter 13 Case

No. 12-07216.

       2.       This Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C. §§




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157, 1334 and 11 U.S.C. § 523. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(I).

       3.      That Debtor applied for and received unemployment benefits on weeks ending July 9,

2011 to March 3, 2012 under Title 50, Tennessee Code Annotated.

       4.      During these periods, the Debtor failed to report her employment with Dollar

General, causing unemployment benefit overpayments to occur in violation of T.C.A. § 50-7-713.

       5.      The TDLWD-BPC relied on the misrepresentations by the Debtor on his application

and weekly reports, in awarding benefits.

       6.      Based on the foregoing, the TDLWD-BPC asserts that the debt arising from

fraudulently obtained unemployment benefits should be nondischargeable under 11 U.S.C. §

523(a)(2).

       WHEREFORE, the TDLWD-BPC respectfully request that this Court:

       1.      Grant judgment in favor of the TDLWD-BPC and against the Defendant for

unemployment benefits in the amount of $9,915.89.

       2.      Hold the debt nondischargeable pursuant to 11 U.S.C. § 523(a)(2);

       3.      Assess $293.00 in court costs against the Debtor in favor of the TDLWD-BPC;

and

       4.      Grant any other relief necessary to protect the interests of the TDLWD-BPC.

Respectfully submitted,

ROBERT E. COOPER, JR.
Tennessee Attorney General and Reporter

/s/ Laura L. McCloud
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                                CERTIFICATE OF SERVICE

       I certify that on _March 8, 2013_, a copy of the foregoing was served upon all parties of
record who receive notice electronically via the Court’s CM/ECF system:


/s/ Laura L. McCloud
Laura L. McCloud,
Senior Counsel




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